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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
 GUY DAVIS, et al.,

                                     Plaintiffs,
                       -v.-
                                                              Case No.: 1:22-cv-00829-RDM
 MTN IRANCELL
 TELECOMMUNICATIONS SERVICES
 COMPANY, et al.,

                                   Defendants.



                          STIPULATION AND [PROPOSED] ORDER

          WHEREAS Plaintiffs filed their Complaint in the above-captioned action on March 27,

2022, asserting claims pursuant to the Anti-Terrorism Act (18 U.S.C. § 2333(a));

          WHEREAS Local Rule 5.1(c) provides that “[t]he first filing by or on behalf of a party

shall have in the caption the name and full residence address of the party. If the party does not

wish to appear on the public docket, it shall omit the address and simultaneously file under seal a

notice containing its full address, which notice shall be available only to the Court and the opposing

party”;

          WHEREAS, on March 27, 2022, Plaintiffs filed an ex parte motion to waive Local Rule

5.1(c), in which they stated that they would be “prepared to file under seal a list of all Plaintiffs’

names and residence addresses within 30 days” (ECF No. 3);

          WHEREAS Defendant MTN Group Limited (“MTN Group”) is a mobile

telecommunications company headquartered in South Africa;




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       WHEREAS Defendants Phuthuma Nhleko and Irene Charnley (“Individual Defendants”)

are South African nationals who currently reside in South Africa and served as President and

Commercial Director of MTN Group respectively;

       WHEREAS Plaintiffs requested MTN Group and Individual Defendants to waive service

of process on April 8, 2022;

       WHEREAS MTN Group and Individual Defendants have agreed to waive service of

process in exchange for Plaintiffs’ agreement to this stipulation, setting their time to respond to

the Complaint and stating that Plaintiffs’ counsel will provide the name and full residence address

of each Plaintiff, as required by Local Rule 5.1(c), to counsel for MTN Group and Individual

Defendants on an “attorneys’ eyes only” basis, in accordance with the terms set forth below;

       WHEREAS neither MTN Group nor Individual Defendants have previously made a

request seeking an adjournment of time to move or answer the Complaint.

       NOW THEREFORE, it is stipulated and agreed by all parties in this action by their

undersigned counsel as follows:

   1. MTN Group and Individual Defendants have agreed to waive service of the Summons and

       Complaint in this matter, pursuant to Federal Rule of Civil Procedure 4(d).

   2. The deadline for MTN Group and Individual Defendants to answer, move to dismiss, or

       otherwise respond to the Complaint in this action shall be July 7, 2022.

   3. Plaintiffs’ counsel will provide counsel for MTN Group and Individual Defendants the

       name and full residence address of each Plaintiff, as required by Local Rule 5.1(c),

       immediately prior to filing this Stipulation. The full residence addresses will be provided

       on an “attorneys’ eyes only” basis, provided that counsel may discuss with MTN Group




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   and Individual Defendants, and include in court filings as necessary, information

   concerning the judicial district or districts in which Plaintiffs reside.

4. This Stipulation and [Proposed] Order may be executed in counterparts, and electronic or

   facsimile signatures shall be deemed equivalent to original signatures.

5. Nothing in this Stipulation and [Proposed] Order shall be construed as a waiver of any

   other defense available to MTN Group or Individual Defendants in responding to the

   Complaint, including those defenses set forth in Federal Rules of Civil Procedure 12(b)(2)

   and 12(b)(6).

6. Nothing in this Stipulation and [Proposed] Order shall be construed as a waiver of any

   objection MTN Group or Individual Defendants may have to the venue for this case or

   change in any way the parties’ respective rights should any party seek to transfer venue of

   this case to another District or seek to consolidate this case with any other case.




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Dated: April 29, 2022                       Respectfully submitted,


/s/Ryan R. Sparacino                        /s/ Timothy P. Harkness
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So ordered this ___ day of ____, 2022


_____________________________
RANDOLPH D. MOSS
United States District Judge




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